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                                                         FILE? 10•...fUN 2515:46IJSIlC{fp




2         s..zd    #$ 8383.-77
3        777 S!/JAlhrJ 8/(/c!
4        L)N 71J#.:?O( () R., tj 7 9/ if
5
     I
         tIl/fill-if!       tgO,58-
6
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7

8                  UAI/lui Slnl£5        n/sfplf ~u.ef
9                       ::D}051/Vcl- {);:. 6!-4jtJ,J
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13   ---~~....oL....:...~"-----+~__r_---__+___




15
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16                V   Sol

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18
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              Case 6:10-cv-00737-AA        Document 2   Filed 06/25/10   Page 2 of 49




1         /f). ZJ..   11   <iAIBU bVl'-1l- Co/2R.£clrtJAiAI
2J;tJls-bfu/(oA!; .;: ;.h;clfJ£, RAt{
3 SNnIx ,Rli/tn-& ~ItOAlI1/ -Tw ~lukdAli

4         m~£ !MA/A!lIL, N(j~£/SAllfk ,Rir/lR-
5     "&1l-/Z£d/{);1+17A/s~dtILIJAI,·.f- ~iHrSt1A1r
     ·x RIfff Jech/ .5/JHk Rtifl,/l- t44.dAi/J1
                                                        .7                 •

6
7     Z-:A1.sh'-!a floAt: Y" /I/ttlAIE-/fAJIlk Rt'rltt/L
                                 y     ~c.r         I


8     t:()U£C-I'()A1n1.zA/S;'/Mr~dl #£/Jc/ .
·9    CArM, .5A1RIc£ !-/(l£1l-- 6/UU..cltONH
10     ~N;hYCL.IM~J 1.-/ £/i-sl/AJ()oe!,
11   SAl n-k llifLi.- c.OJ2-/2.W)()A/hl
12   Z'A/sl/falldlfl,;~, btmelJl-//1
13   S'NIJ-k R./I/£./L t!b/2-R-£.CIrLtJAiRI
     >-



14    ;Z:'AiJ flfutltJA! T1 J/Un/& I/2lik#-/}
15        SAl41CL               &;£/2E.CImA/J-/
                                R-?t/fYL
16        .:cAi.sbla I£(),u,' /lJ1Uk NOd/it ,I
                                       )

17        J'A ./Bk /&1/£12-- &:'.!U2.L:dc"A/f}J
18        Z'AI<5!-/laltlfAii Ot2fJtTN
19        2J~1              ~OA/SI   cJr
20        S A/IJ-/ce J!,/tJEYL 6~~kLhf/.lJ1
21        ~Als.f/l-u.lt'tJ~ ArVel O~(!~
22         .5~,:;I£ fJ£d/-lurf1tb'0f.;
23
     ---:----------------
24        411 /1/ 1/;£//2 fAid/udu/i1
     Page     ~       of   47
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5
    -----=-~~~~--I--------

6
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7
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8     -,-
    .-£,;. •      ~//kJtitc"IJt1/                                           _
9
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2
     -----------------
3    c   Tl,




     _..,.--_~-------------
12
13       3J            ltjl,tl/fdjJU4-h:. /A/ /,1/5 C~u/LI
                  0-AltL£ /s
14        L!11J~ ~8 liSe., .f /39/ f.lA/a Wls$AJ#lIl
15        gtl£NIs~I//~ £(S.c -k /d) f &J/YltJIA-NI
16        Oau12£d IA! IA'J 0/51/2/1/1.
17

18   =YJ AI2SCLMI JJ. !i.e                4y{///U~ ():/
19        I-/J£!J££J.(WE/2S           hhfM/J,J U/V11 1!k:t.1,
20        LfJ List 5 /997 ~ AI! 1JtJ4'/4M ~£A?WLC
21        hlH/£     nUN        ~1rcJ M/l4Uj-A t'JujtJAl
22       7Jf:jMI2hnwl tJ/             UJ/2/2aILI/A/'J/       o.~dN' h~
23       elAittzs - ZJifJM/m£NI 01' /lckJ/#/s/#Aht/c.
24    SvwlCF;,s; Avd               tWzr£tlAtl/«. kuJ sJlskm,.
     Page !f- of Lf 7
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3    ---==/::t:.ll'e:.L!LO_ _-..J.jJ,~'A~£''!E:::::LALJ./t~S':l--                                                _

5         S) /ktAlIt/t CMykd£unIPflJ 4~
6              i -5     It     /N tYldl£             fA!       lAte       ~tL-sJ()ch
                                                                                           /
                                                                                                   o£ I!J £
7           ()/b£jM,d 72f~1=o.,?" Co~kdS;
8           LlAJdrg It: SbJf£AlC£ //n/o..std &'1 ihE                                                                     .
9          !2hk 6£ 0'fl9j(!N,    1!~A!Ir'///S                                                      W,ULAi1¥
10        /AJ~Ik<£/?I9k1 Iii: IAL SAJIJ-h;. '£/(///2, C(J~R-
11    -   ELkoAIIJ:/ J:AlshfuhoA.! . /'N avM!2/a· 0!?W.dN,
12         z:;ij lilJ ~t!:7IIAtNI I/i£ 9,tL£shewtJ /hAl
I3        fJ!u.& ££$£ ~ I::Iv. Ch./Y/I!.4I1J,j tJC~I(!J;~
14        /!/l-IAfhl.f' aJ/J5 ld~C£MM AI liz£.- 0l'-C4tJ,v
15         sl-AIr..         .%w1£M/~                           /Wd fAlA./CL. i}UM.-{b~
16        -itCMIIl-/ .ldVsl-l7itlUJ!J1 /,..} sp;cL&L                                                   htJ(,4UNj ~
17                                                    ----.-                             .........--                 _

18        6) 22di&dAdl i£4il&o                                             /.5 ,Q              2Iac./o/Z ,l}f
19           fht:- tJi'-£jtJll! ~ !£N/I~d ANd /5
20           fA£- diLL /J2tdtcAl ~~C4 ,;
21            72£/bvc/AMJI S/J£/kAl I S Ii Z}tJcM/2. tffM/
22           /5 It£. C) 4ftJN ZJ£jJHlmult7-L 6YkIlLchAd
23          1-h~/.f'A S//Lt/IL& /J1u/t~ffl Z21daba;
24    _----:ZJ~I--=?7S~~...;.......M....;;..;...~..;...;...l'A-ttl~I~I6~~~·
                                                                      r--S~£..K.1I___:;....;:/~=___=_A-_'____~=__~_rA_~_/L_
      Page.5 of          '-17
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I     #     IN- tJ~,v' fH-l£ ,l?bVlh,4~i
2      ?J £n1Xl4-t1l1 &U I/cl:. /5 ,4 ZJ(JC~/l. A-I: /At
3     SAJAfu           g/(j£/l     Co~!2WrMl.tJ/ fAkJ,!-/lakoAl;                >


4 Z2fmcitHul                      1/6dg& / 5 /t I!q;s/vud A1t1~/
5    /+-AJd I:h£ lJ1£rircll/           S£.!?IIlCLf/n/M/~£/L ArJ'>~Ai~
6     ,f.1(/[/2-   bJ/2/Lu!loAJAI          ZA/&h'z'u~/t:JA/;;;
7      2JwAdJ &()NNla 1..5 /}- AJtI~ .11:"£ &
8      5/l111k £tUg£- tOIU£C;IO~Il/·..:Z'AlSltlalrdAl:.
                                                    ,                ,




'9    :JJdiNdAAJI: Z/J&iaJ~od ('J A- £4u/~'~
10    .ttl -fA/Nee, hu£?               &~AUL/Ai)i'j&"'t'/d;)~
II
12
      f:£hA/d,LW~lJlA/6: /5 /f "~#-
      _AlIl/q, ,£;=~_~/M//I/~~llltllta_--=
                                                                           #/-1;L
13    2Jgh&dAAiI: millE£- /5 fAf-IlJ'J'LJ/Adlf~
14    lJ[    S£LtL/l/1:i If          5Ntr/t£ /2/(/Elltb/2~AlHfAl5!dtIiw;
15    Dm/tldA-A/1                 eM-A! /,j M£ Suu&Aj 471W4fl/L
16    01 StJA/L,£,   &~AJAI SCAiS/tlultd,u/
                           fk()fI2,-
                                                   :>
17    <?JfLWMi! tA-/11jJ1J£// /.5 /i l?AUIJtN ~~
18    >N/+U ttl/ilL C!ot2lUcht:u.JA1 -Z:Al61//t/#OA!i
19     s7J£UAlcUtAII-         A/()O fh
                             ..
                                            /.5    tAL sppf4!A/M~d
                                                                 I
20   Ai: SAJ4!e.,         !2tu[/2 ~kl2Cdaw/JI 4J£sf/lulurA/7 '
21:z:Eh                  ~ .' ~ '/. £                    n
                                             "Alltk £lrlf:R.;.                      ~



22   7       Ih ()         I'              ZM      AI:                   rAJ.
23     Sf          /              £//b .z-Nc/;~                             ~ '
24    (',q)'IJCfI~        /2/2.     1/1[//2.-   fk/;t7A1.f duf'P-/AIlidtd/lfJ'-r
     Page~offl
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1       ~J, tllI/dt:.e t!oltJR. S~ ~          orr                              1It./l.-
2     ..rAE/a k/ulU /0 ,#MUldl Ii-dlfli4-k                                     /bvd
3      ~S/MJ /lud~clJ:L 7/2£AlmFlIIG                                z0-I/zEi&
4      /2u/d-o£ 72<s~ .,6                          1I",4tU 5.Ei€f,q,1
5      /n£rllC~!      Aktdf"         &
                                f/1£'/G v£.//fJ£/Mk
6    < wd-f{i4LNG£
     .   ,            rAJ ,f)1&AI~/6 S£/Z/t1a.s
7      /!lEd/UlL ~£-£dJ 7 &/2-fNIEA/lroAlIJI A-Nd
8      2JUi/wuJ-k /Nllc~do/d.vA; i&()tU/~,.
9      -k.~ f!tti/L gdtJl;llIitJ,J7' buowrfirt !IttJl4-/rtllj
10      dlA-flvltl'l5 pq/u-h01 frtIId Ztw'S.ltltihQAJIl!
11     'trio hr 12I1~ hefEd by J HUt tlWS A-vd 4
12      51-Irk A-Ntl FuiUlA/ 6A16h'!tLl/ONJ'c
13                                                                                     _


14    ZJZ: t       SUh1hl8tJ of: 4I!l:jdYd!/lj'
15 _---,---                                                                            _

16     8) Jllff,ll/it:U              b&L.lf/j5 fAts /klrd41
17       duE:. h           oS £-cZ           /J~LS(jd tJ-64c//la                   I
18                                       ~ ~                   a'J;j
19                                            '/J·uv.,it           5'l:-/Ue
20      ~C£J!           1ftEdf/        /hVd          6     S/? 6-/'/)aw
21     ..:rAl-h:uhoA/.4-/ C'-A-cLJ /A1J jJ!.4z,uhl'l'
22       /J1b'4/ 4!J d£jJ£LdA!aw                       ¥
                                             Ill£d/c4!L1Jf/,
23      rrJ2£;U Itv;~) t!lA7/YJ4-:i!A-'h1 J: Afllhd!
24    5#:·~ tJUCt¥4g~'r C/MI!7.II ~sp    ,  tJ'/Prett4-/s),
                                                         ,
     Page~of '17
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2
3     ==:Z=c=5-4h-/f.-ICL-g-(-(/~-I2...-.-a-~-J.,I!..[-'(';-~·-zv0-~-I-Jit--'.Sh--·~-~-'d'.-4
4           7J£b IJuurk ..:z:AJdtfl}R£..rId:)' f!.JCMf5 ~/'>2'~'
5         .:rAl.ft.vhdN"A! £AI/ltckOAI d~ .#Ar~·IIJt.f#l-#aJ.kd"A/
6          d f () ZJaC 1ld1l/MJ:iMrde Rak; PdttIt.AIL/lAl)
 7        ~ Nfj/(Jt4C£j J£A!LtJaJ' /l'Jt.dKAlAkcds"
 8         LOA.llt/ldifl df/JJUd&!tod o f //lu/C4kl/A/,
                                 (                            /
                                                                 .           .



 9        IJ1rd-A!; £/YltJhQA/tlI, iJA.t.v ANd 51L~"
10'
11    -~-N-·-Z)-£-IJ-'£.-~-~-~-.-r-~....,...tr-tJ-A/-Al.-'d2-/-~-'lf-'y-I1/L:-,-~-tL-h-~-/

12        ~cIgl~L:>./tI/~"~Aka t?9/.~ /11//U~
13        A,Lt'CJ T- _ S/)tJltw,,:/!P~'NS(JN
                                ,           __
14
      -------~__r_--------

15
      ---------=-~~---------
                                       FA-cl-s:
16

17    7I[..:z:      N'        cJ- 0   0d     j)/Ai~h1'/ wA5                 !zotL.mIIAl'
18         flu 2){:S.c~It~;; s'iJI!£j/i"kdA/ t/4//!(zJSIL)
19        AI f-'A£ SAJRk 72£{/~ Cd~,uc-h(lAl~1ZA/SItItltM
20       (SR.c..r). IIA-iAIk/f a/45 fuo/'c.ded ~ '!f'/.£,lJ
21       sb/as       65 cltkAlEd /"1/ J£htH/J-L ~ /I1~r
                         II

22       L..(/ 87- 38:J--!JfI; 7~S-,c; Sf/I¥' 6~J. A-s /t

23       kScttf olhv.j;/-/ /:-ll.cI                           /I- ~r(/// ~/f,!fL~
24      StU"/-    ~ksl 5'Lcr "/'/lc./4:6.t. /~ dt<drNJ 171&I/CIlI.
       Page ~ of-fl.
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1     /(})           ..:rA/           7JEc emIJeR-         fJ-oo   7       fft£- cAVe
2      culli sdlJed' IfNcI f!/~ll'tW/J:5' glt/,£4
3       AfJPt't. $~3(;C> ~ ;4 -s£/.Ifg Itc c~ tv/II,
4      ;.; £';/flclIHL C/J-S-e, (I) litJw,wu;/ v', J/;c~ I./;/il

5     if/leI).tC. (I" {} 3 7 9t1. ~,Q.. ;rAI /--11 /J c. 4-S£,
6    . ,R1A-tAJU1/ 1J1fL;j£d dtA/I/J1 (J/ /Ilu!JcqkdAl;ka.

7     ~di 115 /J~t~ HAIti dtJcaHJEQ"Iu/ #eck ,;IA/O
      I L               '
8      0 IJCk / IJ/ 'tL 12-1LSc 7"h/.$ ChS£ UJ/f.:f tvE/I ,t,yt?a/A/
                 v
·9     10 S)2,CI ()~HC//}II/ SLZa£lly AA/c/ $Wtk!,
10     dtl£ It> ME- ~/lIW#£.s £UtLl!/A/q 1/lbA? ,Lh£
11     bl+aJsa; 1-. J/pAif/l'/ .7/1l/YlwJhI'l. w~
12      Sll£V t2ekdr-./:, tdlikf)-II(JN 0/014/ 12£~
13      /eJ S'.2- CL.
14              ----------~---__=_
15      Ii)      tJA)             I,) -/;) ~() 7       JIM,.;I!'!/'UI/t-J' ,L~.tH~
16          h     d-~cI JJ/~ /# :l-k ~/.(/~'t/~
                     SIZer·
17          >£7~"j tlAlFf{#st?l H.R- I-Ae /}-esl
18          tt./i£ 11:- f'J!. cz AIU /2,;5£ / tft:hA/C/IM/.,t. 6 d A/A/{'/L ~
                                           r                                •
19          k/lL.s&/.,0 j!Mf/ld? jJ!ATA//r// Il:d/fj tJ/.jrj
20          lYl£dtCIJ!ttJu/ 5/-tJ.J/Af:!                  lftJA W£ j:,A./dW              wda

22      (        (                (      (         (       (       (        (        (     I
23
     M rAt: ,Il.!./~I//lA/e..!J (7£ IAoe.. C~LS                                  Ita      10
24    £.s.//lobs h £tht/;/I/roA/                          e/ANn.J          ON   'J
      Page   :t.--   of   L.f 7
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I      :I!{I       IJfl.g   /!Jth       thltlll-MJ        Y-dCL    AMC-NtJ/A/~
2      UJ/f2/'Yj /w;.f It ;fhAlkl'/'                          wAJ ,PfJ-UcVbEd
3      Srt/fJUJ/ /nedr-C4-'H"AI'5 L't'd/,4c£ ~ ZA-A//~/ A/~F-/~
4      8 £.I hdn..:J1.( .</AsnI SR.IU!J.< YdH d-.sd" Lt'E:.Y) A/I tJ/'
5      IV IJ fLit dt!£AldIh/ I 6 tJ Ai If/'t2- !lE)Ju;.!retl!ll
                                                      .                 ~              J

6     diN/l.eI ~/M~I/I/~ /htlu.ql,             jJ!A7ulr,L/ fEDti
7      AiR        m:#Uc   fill, Jngd!cAhAJ (;nR~ C/i-I2Q /J-J'
8       /f' j'fit:,     AAr! /A1 I'A-d /SftL£t/ ;Lk /!1LdIC~lrtf0
9      jJllJ-,,vA'I'I £tIDJIed(y !f!ItL£JI&:/ £5 mm!'C4#tW
10     1+5 fie. w/Jj ;A! j!1J-rA//(/A/ A/eckr iA-ck}!t3
11      tuB..l(,4S          JIuckA/q wA£1fI dt',,4~A';/Njt                             AA-vt/f/()
                                        ~                                                       J
12
       ~
        f)MJlt11t5 ~RLnlh{lVtI
                            fr
                               /                 /ltt/tV IN 7LJ/,yAlItW
                                                     A-7vc/   ~

13     S-h/fJlJCh I          A/tlIl-S£ AoA//t/LR, t:.l//tf V~Jt.l:AC
14     1J/47A!kU' 4/.>0             I   /d.e ~E/aSIA/4                 ,4-        rd    /£&-1,
15     WAlch IJI/J-tAl.hlllootf,.
                      ~
                                    /J-~I-Iu jJl2£t/ltJtLf'                  c.


16    /AiJI/fltlttJAi/ !Jul ~tJA/A/U /111JIS tEd l/uAJk/£
17    dtd NOll/MUff! sA-£ Ifflfi ~~A/d rorr
18   ;Z;      did ikU Ifi                   /'/loLJ1      1h//JMlYL-f£CCll/tLRfL),
19    1fA&'1L/-6 c;I2CE4.4NCeS (b Oloo 7                                          - / ;z -   tY.JyP33)
20      6ul!'AI£S fhE. hlt~tm:AI-6 ~';/i/;/JkdAI
21      /fAit! Z2£II~£I?(.l1t INtIi-/hRLA.lC£ -I() fk
22      /ll£L/cc&koA/        dLA/iOU, /t5 ,f} i2t;sC/IICJr
23      !Jfdlit        d.w/!.d /!ly ItlLd/D?:~/#u j2M/,f//;/1'
24      .5'u'lUd fl~ultdtlt!J£aolely                                         {y I!dNNER)
     Page   -"l of L/ 7
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1   Wm          /d-/d-- CJ 7        .~A/La          /:J-;l.~-o        7"
2 ZJ£/iAlcUNf f30Af /1/£/2.. cI/ colA / 1                  S~A tlr/lC
3
             Case 6:10-cv-00737-AA   Document 2   Filed 06/25/10   Page 12 of 49




 I       ~A/HILa/.fJ5                  bld.fy           C 7'.5' .,LA-4/- /AES
2       IvIH ~/$zT It/ArcA rlI1/dt#/{:/#/~ ~~
                             I
                                                                           1
3       IH /-/z£,- ma:ltC4-lrttrA/ ANI gUAI /2IJtL//A/i/f/
4 ~w1 AC/ 11# b7t'C Z/OmlZ:! ./J/lk/l- ,4
              ..r                 '-
5 /JI2I2ttlH &I S~ Q~c/A-Arl G4/rC/C
6 d5co,tl~AJalil ML- /I//f-S~\d£ /hVtt •~CL/-
 7     ,lItHAlIrI/' tJAi ~/MI'/rA!1 /-AtJUf4 AlQN'~ Q~
 8      -Ih£ S~I!1jI!4m1 ;:;/1- ~/4-Uk4 £}'C/f/--£d
'9                  .
       ai/fit f/hAi/rf/; ,~/4,/Alk# ~~c/ ~I/c/c
10'    hE tuM /JW19-{U ~f #tL/l?g ~d,ifAfl/L /J-s.&,vo
11      !JiM k            7JC5cuultlf/U?          &       ,!J1ldcC4!tl/'N" -k /
12  Qtf ~ t:J~f ot M£ hledCOJ/;I/~ clft!iR/t/A!tthf/
13 N/HHz, 2JE::6:,vck/ (duhe-k '£.£&&:1 6
14   hdu f-AL /fJMUktrAi Ibvc/ A-3,4L!L.Ra/1
15
   I
     f}/iJ-,A//t./,c fU.ch:AU:d e.cA/ICA/t1tY ~etld                      lp-
16N{)!- S/££J) du~ ~ O/lL/J-l-hl/\/12 ~AlJII~1h!1'
                   ~                      Jr           '
17  t!eJAlhA/O(LJ S£-AJ 1/L/lA-I4hI/&/ £.t-LrA/J'(uc!1f1
18    rkUf6 ~ /Iltde~H &A/dtfoA/ /11./1-%
19 1./,,1 b£ If S£/lL4'tLS I: /'1 tUM I-AE fl/d~A1~                                I!/


20       ftAJd ctf;,4M@,v' 'i;/ac; ~ IZ/hUdrdl' ;(-J,,/'
21       O~ r &/l.-!It -/--.hi,i. dhtt¥ ,/f'k4IJt.I?!-rI.N&-
22       A-AJ           t£'akc#: ~
                            I-tf.£ ~(/;(/
                                       I£t,w£///'/?
23   AN'd ZJ~j)IU'~OH ctrlds~p /-AL4& ~
2 4 / ( / E~ £'-SC/i-4kd' ~~ ,i/~Llall1' Iud
      Page   IJ offl
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1      /3 ) ~/UO/L ~ ~t/#/ 4r: s /2-e.)C
2      ,IJ/IJ7A1kyt:/ Ad IJ= mLd/C14-l tJ£dr£ h/L
3    if Z/dCLJIE hMat../I} ~    rI~s tJLd/g/ d?-Iu/
4       "-U-07 tUM hll. ft}fIE/M. rk"IlU-¥d5G
5       /'.5     ~/L'A-N-A              oCU        bt/lec/ /4               '4-Af-/
6      mid                                  dIN '     /JU~ ,L~          /9&7.
7      rlu           tJI2dl/L, tl/A-j /5-5 aLe!                /;Y CJ SLJ DR-,
8           ~t7         l         IAJk liM.    &idUd A-3                      A-
9      rft.,7~ /1'1/ 4- :I£r4/ t2-£f4-d/A/'j
10     j)liHAlft~ 'Y'a/t1aq t'( $£dcC/1/ AlU4
11     ~ til/II A/£LK/ ~~i .skafd'c/2/ ~L
12     Iz~ LJIYA/; ;z:;../ ~~4htrJ vC~
13      I-JU.
           jW/bl/d!. AfA--/II/.Sf:.. /.it:M/4/&e-A-Nd
14     ~//C!:-/ Covill!£! cuilA d£/bt/d4-#,t
15      ~      : ; /Jckt/A/S (:0,                  llde
16      "            /tot/,                                                    wSl
17      tJ/L-                 i                                       ~J'     "Ai 1/A/tL6 "

18      I-Iu                /LdJ         '~/YJdt.         Fh
19      ~£CcL/Uf/ CtwcL/lIt/ /.(/11-11 SLCct/l/4' .5'./4-#/'
20
       I
         1J/&JAJk~ 1£&Jlfled                       tJr
                                     /de 7)r:>CdA/&A/t«d
21     ORdER /M41 A: ~uM£ IAIk ~ Ie, /fLY
22                                                                                       _

231              (                (
                                (( ((// (
24   (3) i-IJVUr. ANd &/I.IIVL'4- 1n'!J k .&/AfitY£1;M;abtri
     Page   I I of LJ 7
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19   --1t----------------
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 1
 2
        ~Jt./
      (ti/-~ -
                                           I'
                                     4j/lg!c Jlfm:
                                /./odje" CAz& ~=~4
                                                   eodM1<MI;f~/J-kd
                                             /lJ//hO?          11/",,/-1
 3     Io;f;d            1!1£d~ I)~ S~~ .,4, ~/Ua.
 4     h £- dtJao./L. ul'/ ~v'MrAf/s, /l/f ~~
 5      al'g,U          ~£a?,//JrcllcA/fAce! SLCa/2i/C/                                   ./

 6      C()CLtd /-JI!tJW 1:1/" SL'CtL,e/~ S$«! /l2CdCa-/
 7      /JULJI-- /)/~aJ rt , /kJdgg fRed,gee- &#~.
 8      j21hdcU A/rti ~..wg( -/-0 ~Id .
 9      ~dJ-{J07-1;;l-~3S)/btJd
                           /,
                                 CA7A1Ld/LJ0 8 -~~-dOf'J71
10      bul- ilJ.f~ tug/2$' d;£;f//'a4 ~ a,rd/ A-f /-k
11      AI?R£ALf M //J//~/ A/(14!?/.~ /h/(/ S/lE/kA/"
12       rAw /l1f/A1e hAd IN: flO H/zl'/Jd II "'"
13       5tJo/'W /!I&AI/c#!' "                             ft   ~C/~~/~
14

,15      /5)                d - ~ - ~ 2 % c2/l&4:'"Z7d /bVi
                       {) A./
 16     . ,dfiyllf£ CA-/JU.. h fJ/A-/Nb/L;:.               c!. U 0
 17        Il-s u-:- 0 7 / /fAitl cd /p/2-,nD/ /.12- £. ~ /z,4 7"
                                 <

 18        /-h-z:- A.J'tt/l-S'£ tvA#Y ~ S££: ,mE«, U/ku
 19       .r //-slcELI jlttjA/L aI~" A£. f'4td /( /£¢dt'L
 20      dUAl r; C..d /J1 £. (J U -1/ tv L/LL c~/ll/N </ I'AI I ~ .z:
 21      Askd .5/H2A z"if tv,1 II tt/IH .:z;.-~ Af,£ Lc-/~d
                                                    :/
 22       ANd..7=- t£A-/bA/ed my A1oA/~I<J(J~/UAA/kl
 23

 24
      Page
          t!J&iI:.L W,H A-Is~ ~CIf,f/ILAlrLedI q ~~
             #I- !3tWML'/UJ£!i-
             /5   of   '17
                                                    =      ~n '&/~h;J
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1     II~I'A/ltl¥'       dtJttrA/ I-IlL          Co"u/a'ttll?/         4!f
2    dAft.- !f/VYl/ C~7A//t)                   .£~[~1!J~AI
3    11/ I'A-/Af/~.[& ~ SliLat~LA/ed;,hId
4    DIJd. !A!f'J,£ L~//// ~M ~.
5            t:- ~ ~                       .                _~ I?J/t '/Z'((lUsi/
6    A-Aid   ~/t2Ss.[5'             .                       /11.,/ k~4B      J
                                              ~   rr     '
              I AI f. 1-/7fI tI. ftJ AI /1')& _ 2JEJfvdJA/;I
8    g/H/cu"tJd MtJa/ed Me jJA-zAi ~ Ld4lbA/lL&,
9    Dr; ttl4-ld.tNj Ik IA/I(cekw dl:,/tHAl 1
10   A-A/d /'AlWj ,J, )~/ ;=r/ Mtlt<pA Iz L-
11   hAd lli-t- IktrhJ&'/~                 62   ~ ~, GtUCd/hr/'C~
12    /I- d--OtJg - ~:J.-- dO    r
                              th4 ~t>CJ<3 --. d ~ -0/~
13     (J~ I-ItAJ e.S I-hUg £ V'MlI-5~ /Itt ~;h
14    /-10   4£,£    dld-;~/ C~"d4 /II//hl/ /f/dt?-/t1
15    121/ td£/U d£AIIEc4 k/L/~~/L4/UL~lj
16    /0 S!l£I!-()A/' WL~ dL'(/{c;d.
17
     --...----------------
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21
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22



24
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1     «/JEll- /lldW(~I(/M t1&1?~fA/t:'PAI/ulI/ckw
2     MJh     5ZCUIZ        t.&J
                       ~dlt-/I' k iW~N'
3      V{cOc!tNL !tNt! A/lI.I/Za1II:z/f/ A~I?:·                          A/£4IJ£,v
4     ~     cr ,Ik4 £tLE/Z ,VAleI'. ~ /"Ad {J!if/L IlJds .,
5
6    -/8----1J['---/fs-··-.lJ-m-tZ--II:-b-'£-Iflee--A·~-;t'4ifI;-r:S-~-~
7       6/L LA/dew ~.,c dONNe? /-kJd#&F£a/~
8       jl/l/JAf~ ?/!-$';t(Jl)dt!r CA-rAI/ A1d/DP~;{ICJ'Clln/                        .
9        AAJd S/lUMAI.t. JJIAvultI6 U#.fl/blaA/d
10      R.-:J~ /lj~t/tt!t4/cd. ,IWAIlc# /M:s lUll!
11      5ubu/&:kcl ~ klkl/khAJ; ~?.li(ferL0/
12        1It~.d> .IN' ;:kIcd';lllJrAf~kdfV/A/./(y/
13       d£;;/;~ m,fflcaJu'(y. ~,t- #Nt!
14       tJ~ ~CL!£MLLI                     I;;
                                    1/1#A/~ S .€,c.z: fM#
15      ,2hbCltt!6e A&/d ~~d!l: 412.. IkR- A-ektBrf
16      . &.rcILdL. L~fk:lgAlJc L]//lM£/d£ AtrhAYJ-/&i

17        Ie kst2/r/L ~eM£1l?5 I-£MU#                                          nu-
18                &4T./l1&' //-d ;1MCt:dtU2£t arArc.A.
             Yb/LI:.
19        U/t.R£ d£u/f'd .z;.f: M,I2ttr/?f ~LLZ:-
20     () z:;oc. oMC//3-lf     ekt7S£ //tif;?:,Ld~(J{/<!'/L
21           ~AJ~~                   ~/l1#--Ifrp/J
22           LIQ(jji ~§~JJrtJ4tJit/                                            /M
23      /hit! 1M. slAk ,(Jvrl~tddfMLbA6
24     V/Jm.4;jt:£ /.J-AA ~ti:.,f /k ~£ Cbms,
      Page   ~{)   ofn
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7        jI/J7l1/lld &A1jJI4m/1- III/rpd / Q /,9R.-~
8       IJ/kl)fJtit>A.J3      ~;:: #~cj; '~d Aleck II I'IJ /tL.lVU'
              J                                          v
9       .J1            t:.d
                  r,<HAI       If:5 /9 £&>a I 4 ~ ~
10     '/p//''''!i tlJtllUJuf /Jdl:!.j/t.4-k                   OM/JR.     r/1E
11      &mpllJfAff /}//£,fI£d Srr/£/U /I                 I"Af/a£l£J       alE~
12     S'wfmAlEd.              cJ#l#iUl ZV~~/~MY
13     d£6A1d/lN'1s           wt:.e£    ~¥!/4SgAJteolJf{ t1!<£(JAJ
14     ZJL/PM:f;?7bl/i C1-/' k-sha: ~/t6RAfC!f
15     MIl!t:&li£, a;1UJ&1ULC !w; 1iP4u#d.t1JvlUS'tE:0
16~£ o~                       db //2eafC4/           h'La,ecb h/,4k~
17     ~      nl'5    /ll'lepd     l/kk /J#t{          ,vt:.t...%: L#/~t:J:
18     6~=~%~/lJeAf1 a:T J~c.::.t}drl.bJ0fi
19     klt~1L ~'lhMlt'j¥r //1/J-£,.~_ 2JulI//ltV.-9V/
20     CoAl~t~A/hm' LdCbU9U                    ,!:1tJA-/1       'J
21     /MI't!     j!Mvtdrd;£k A/£Ct:.s2H§!1 /liLlk~ttJ
22.    h/M1,L;;/L ~/~A/If6C.,4 .5}()A/ hK/#!P'lJ
23     ~ SIZe-I md/C4-1 f,.t-/J-'~ ~~/L ,Lk
24    /fJutt9f! keo&tJiI                  rAC5 //2"l~J,4kktJA/
      page~Of ~7
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I      QL;j~ "AI           &'-I'$-~tf.
                                &5. A Z}~
2     ~I Ik /d/UrJ fa ,fJtw4!f/AG tV'L'1;
3      f!££;sdAfAlly, A-/h£. fO/Tl£. @Jc..clsJ'iuA/ A-Nd
      'J                                     ~
4     O£//t-'lt tiL <£SQNl!.d C1JUfD./ f t-O/Vn    w/l-f
5        j)IMV{ckc/ ~~t""~L/- ~ 8 __ rA<? /d/2../n{S~
6.      NtJM £( BIJde{ANtil ffd tr 1!-Ea:J/lt:7/s tW~
7     £qCL-£'S!fd',f.l~ -;Z;C)J A-utI Col'tQ$dJ/M;~
 8        .
'9    OlCJ1~~-~-'~-h-'1~II'--Md--I-M-'~(q;-~-.--~-><-~-~-~-'d~
10·   «d;;    T/_;JL/-Og ({/iNti           ~ ~~71(fJ'~ ..£i'q ~
11    t\.tJ,v " . / 3-0!:         rh~.,t;R-L_ rk~                   /l2ed/cu
12     ~ W-~I                        W&;1     ~ '&~~" .6ar"II'
13     ')L    IL#!J 4j;d ~~AI'A-k(lH.J IctbU                               C.NAI<£,

14    -------------:=-~---__r__.~
15    tJ /)
         r
                     ~ ,~/A-/AI-f/IY'fJ~ d~,;f
               oA/ 7-/-tJ
16     £yfieJ £'jf./Md':j; £k filaJ~lIU..r d ~
17      //L£      IAJ/tI/Ul'.S ~ ~/kA///lI:f A/g~.
18      IAYeVl-J uj1(JtJ            k(f:EA;       ~;ot!,dA.~u///ha I
19      j?mN'ldl'          cu~ /A/IJ/UI1«L I-I~A--t- ~I ;xAl(l
20       ltidlekd £$/.sfrd I( /Alc!JCtt!/-A/,q fAIJ-'-:;       ./

21      1-/1.£ «£de ~~y W/):$ dOlf../t!h ~-/3-d0'.
22      .s~/#Lmd& f~/Z la~£F)
23      /t5' 4/£// A2 /J/I9-/N'II~E /A/&~&ulrd::­
24      /--Ad /-fig ~A-t/ td&$ /~h~1- do-A/~
                                    ..-/
      Page tJJ.. of 17
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19 _ - - - , -                                                     ----

20     J 3) C>.J                    () 8 . /11LcI/lMtJ~f:jtJh/lIr(JNJ
                             7- ( 6 -
21          OC.cU,eu/"         BU/kL-st£ ~M m{;((//J--70/l-
22          WIJ2 //llfm           ~M.,f/2AJ//.f. bt'l $LaJ Jy
23       fJlIfAl&          -!tJ 1f/L1/lhJd dAft! J~/ItIJt ClJetMS£/
24      ;I;/L-/IIHAIli/1             dllltlL-    hu/Yl     fLH~1 A/!/Si;~
     Page   J3   of   ~7
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1

2

3

4
     --r~------:------:---a---7'+-----


5     tJt) il~£ fJIIHAfl4 4EJ-d~/2fi-(./
6.     A~d/l-I     ;AI~Y t},ztJc/dA,f dfje#VI4!UIi"
                        w/H
7     fkiJllJ'r dAIly ftttLf;b1 ~ Z tJOtJ ~ ,,/,r'k
8     t   JrJ {)O(} ~ CfN;m,·         TA.is Sam "'(JeLl?! .
9      hA-tfe      UWJJ'IAA/h/JIlv .tf£.£;r/ /A/~&/I:5'Ed~/YJ
10     /J'lffll£ If $U~ tl                   !i'Am~S ~ -/-k. ,t/Jd!('
11    MtJ£        N£ch {~              J/' Ek· ~~ It/£/2LH,y/;;jk                      4


12

13   -cJ-.iJ 1I,w-1tII' .5'£f#d Ik                                (?4m,    j; .,~.ltII6oJ
14        oA/ 7-/6- op .
15
     ----.-----------=~----
16        h       ~A!      7- /8 -t!>8              /,(fll//.)/        - LL/L$U -
17            .                 ;tv'IM.IC£   iJ/U)c~SY ~ ~            J£     lj/dEN"
18   ~C/)/YlP&Js;;h;;;~.1o 'inA/(£. rk Clh;; fUI14~(
              ~     ::",....-      I

19        rAI:- ~E:d4-NC£'5 ~£H/116 tuL~ c#~/:FcJ
20     . /J-A/d  /ill ,&r/Wll£· j)!ldCD-5Z;S C</~
21       {!om £;/rlt;rI, /J/Ad/JrY /}-~ Mot #
22       ;/&/2..7 (!/A;h1 r Ie ££ /2£///1 /;U/U'~ ' " I-
23        rhrW-           //#7/11            k         dUf/(t'/t~R6'
                                                  tI/.1;5
24        Itlrj4lcr~ WItS                        4/!/MfU''</,f 10 ,#/U'ut:..
     Page~of ~7
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15
     ---:-----------------:-
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3
     -----r--,------:--~~-------




16
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            Case 6:10-cv-00737-AA     Document 2       Filed 06/25/10   Page 27 of 49




1       ~Lsa lled l                   c:ItJm&f),fJ A=U I9#MjP~//l~
2

3 -]-;)             IlclcltbON411y Ie, ~.i;A/Sd"~t'dqMJIIIM
4      ~S.s 111£& 1t!JtAl.c.E'1 I h'I/?Vlul A/~kPA/N/'
5      Milk! tt"'c/ tt',{JAlitJ.y A/£,djLALC0 OJaswy
6      jJllHA/.J11I /I/Iltdtrw iiI £lrJd!t"A1Il:! ~kj'l/
7     S£d[/l~                  fAl E          ti.              tvA/      A         ~ ~
8           IIHA!~' 0;11' £t/Cc4 cc; /;/                                     ~/V/ /l/I¢I//'/(~
9       /        £-.,cU~:S                J/AI.J'(!N1~M,                 (j~tf(}QA/~
10     S         tJti;;                 At:         Ah
                                                Ci~ / k        (J$

11    "\ ~ d..-O/ tJ O~   0;#/171 /J2/t1/IkJ J'L~#£/H£~
                              _41<)
                                I
12      o.,c 1'4 ;l{)tJ ~ ~A£/U/J/2e tt/4 Bot) ~ .t, ~£
13      /h-v/J-(ldcd           IJuvn                IllEl/L (!I:M1/!;VNry
14      /l-AJdV/l- f2lM1/tftl~ // ~lJ ££/~lid
15     ,/It! Ill[ 4d'/l-:f~-hfu ~m/ll&#;t
16   {...v.a Z;J,   11-/ IJ IIlI A/flhtM;                 Aok£1M! l; ;;YiJl"
17                                                          -----::-                    _

18    3;2) I {J//h/fltJ-/I
             7
                                          tl/JU£
                                         t/
                                                    dLzfAl~,G= i-A~
19     J1f~ir h                               f,,-~~/& y.1J)J /n~
20      PoI2-" gtJO              6'd/   ~t/ ~£r/
                                               7
                                                 &w.£d
21     '7A#-              tJt/'ue-     &bLEd ~, ;j tf{.tJd 9.
22     flvHdQ,<W!5                    /(/£/2£        !P/tId I/ltti#l4?A! /
23     tA/1J-S ~ OccaR.                   -/-h£ #/J2d(/AJ;6/dtJd/clbt:!'.-
24    5'u.h'twh,t1/;t /A/~Ed. 7Aq ~NS? ;;"<p",,w,u,
     Page   d.-7   of   if?
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2
     ----r----------~--__:_

                 OIL£. dN                 S.//Jh AlViJ t"Af                   1/1/1,       ,

4 __         ?J.~/~Z:::..:...://.~J1:!::...!:~~.~-h==-r.~M~L.L..:L.£::.;!:IU~/(/,~C~e ~~.!:K-::.L..S::C!!!!.::::.!_...__
                                                                               £-'


5            ?J1'.JI2£Q/)R"~ 71'J1r1'J1/tJAlH ~N//Lck~Q O~
6            dA-t/; ZJfj?htJlJItlA! tJ-/ 1J7u!tCt?kdQ; &I~IJQ;
7         /J1/J1Ic(~tLSJN-hN-f ~ C~£, ~/ltLCr,d#tV~
8        I~/II! AllJd StL.j;f}/ZLNj; /)1£A/.L.46 L/nQkdA/~
         ~tv' A-tvcl .>a-/It/L;c-Nj) VnLI2£I:f> ~II: 1# •
10
11   -O-tJ-v-f::h-·-:--'£M-~-~-Is~~-·(}---rE-~-!l#-o/-, -hh-~-=---%-·~-JA-~-~1
12

13   _ _ _ _ _~___:.....r_-=--=-....=:._
                                           F    ftCIS t                                                            _




14
15   -3-J--\-1--IU--/f-j2.-~-£CL-1 ,L-O--/~(-tf~) /-Iv';-c..-/m-'£,-itt-h-
          ;                                   -
16             $/A/C£ 1917 /l/M#///    ftLlL£RLC!                                 t1/1-J'
17           5'£/utJlL--S, S£{/f~ ~4h"J 1M-/'/
18             /A/      1J1Ar#L'1fl /;A-A/4 /hUn~                                         fMal@/
19 _----L-,;A/lc~ #~/tl ~II-ei, 7/J/S /5 drmC/
                               I



20        I?LBLLktf ,A/ ~/A-I--#Ir/IJ /f2«LI'CA//fk~,
21 _ _     /l_k....;;:..-jJf) /.AIC/~.6 C/kh1 /7I/j rAL-hf,Ltttty'
          o CC-Cl/LLd 1 A/ 12 $ 7/ I? 9,J, d.-MYJ Jt5l6J" 6I
                                      .                          ;               F /                           .
                                                                                                                   I



23        /-k w £trlYL fJ u4tu&N WS £ f/~jJU&(JcI-
24      -lmJ!!p olbf&. ;A./crc!1AI1f' t'A£U'id&JAI'q~
      Page   J. 8 of L.f 7
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1        mEdrcHlod ~ fW/'/l/) //,A7AJ7id'/ /J/W
2       .5/1)1£ COU/LI k 1/~4ktlAI,, wlJlcA Aso//cc/
                                         .    ~


3      JA! f-/J£ 1JJ£c/;eA/rt1AJ ~VAlq &JAlIM!ILEt/{1tJog),
4       J./ow£dl/L .57A1C6                    :/'P£A/J ~              k &:It.e$
5       /0 s££                ~//lI,L/              tdW.so             £t/£/d £ £d
6           ~             0,2., tt "   . Y2   I/   hL   at:          /)-$.$'(", /IS
7       ()S/;y           .f,flu:dJ/ Ad~/~ (//(/;h                           Ac/iLli.
8       CA-IU         ~ /LI) VidtR /' tv A& /(AltJ;£'/n/J/It{              1'1   $,£E' t]'
9       Ad          S#U rA/~'H~' £A;;~AI/4;
10                                 -///iA(J (je/l'vAH~L.5'
       IhJtl /AI £L-{nk,(JlrllA.! -/'0£
11     fiAtt! i·;'~lJIJbA.l ~A/.51h47,u~:;IfCi!tJA/.s
12      !J1ttJ£; !J£am& ~t tl/N~dttJ£ . Zl£ltbL/2A/w          J

13      /l!1£/;Ciau&; hd/L:i.s; j::AI=f/~JAJI6tJ1(JA/~
14     AAJd /(      /1/& Lhd-E/l/.E~L~=IE4JZ:d;1/4/!y.
15   --~---{j!;~f4!J£2)-
16     35)         IJ4 //-/Y-doOlJ ~AJI//£tu/J-S
17       .i:ibA-Al5rV?Ul-'''-LIUJ;'; J/ZCZ k Os/) ,I;/Z
18     {!o/lJst.dl/l!J.tML o-r (~£¥. p/A//;ilwAJ
19     1//IC£d.1_AJ ~Ld.tJL f.r0tt.f/A}J / td-1/ch /.5 uAK/u
20      eti::/£vdAAI! tkllp2:f· ~ J d=! //u:. S /La-
21     h.£.~A t//"/u /2/li){//rffg, ~o,e ~ .&/A!J
22          tJtIKh/2.-    #19(/.5            ~I ,I1/*/I//"/;{/                      V/.k$
23      t:J/2tIJ:&:d         /l1WcMtIJAI.$              k            4#H-4(f/(~AI<!/
24      1I!IIjJMt=£,J)        /l--Ald W/J5          H    h;       ~~gd
     Page   :3() of Lf7
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8 _-----..                                                                        _

9     3 b) Uf)(),v A-1d£Jt/&!                Ilf ZJ5 /) ~-;;: fl/l4J/tI~
10          A- Jl:k       -/r:J       5££   ~/ ,,4 ~~vUtJ ME:-
11      I!tLOdtAJ6 mWrC/}.jCtJd <:J1Z/,4-;c.Jd
                      .                ,       GJRdER-
12      1ft£- /lJltL/lLJAJlttJ /fs ~5CtL--S5'~(t<J/~h
13      CultcL cL ?£.1M ';'o/ci z: C4A;.; SC/;&!t/1Ed
14          A? .5£L ~~. ~ dldvl >£.£.                                  d:7-&;eS6Z
15      ~N j./!£d' fa 5£.£:. ,6;W1I{P~jVUas;;) ..
16      1.1£     1f?/rltJ     U)oultl:u'!- S£-£             /YJ-£-/   >a t4f~~
17          <L   hit£!            !J;m /     /?£/n/AJd/f/tl       h/.HZ 6r//-/J£
                             ;jb~nltdA! LJA.! --:;;'AJ/4/~:/n7l/
18

19

20
        ~
            j)£W(OtL$
                                 r
        !J1t.dJWLOAJ, /k ,uf// ,&/U5~~ J~-e:
        m~ /k£USu/ ~ ha~ )£kIda;dA/~
                                                              .-/
                                                                          *'
21       /lJ1J;2~ ~&e. -/£//2,7" a,a ,C)/d/~;?AL
22       AiitJ44A1I/N      g t;e/Jt:b$e- .:z u/~J:5 lLJu;{(JU·f
                                  I



23        My /  ~
                 JJA-/d /!)WcA-wA! tdA4i5~~EW/Z Z N
24          tuM       //1/ ~~t1U8 bC/2tL£/-&.hq j1/YA/,
     Page   3/   ofn                                                                  '
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16   _~                                                                              _

17     37}          tJAJ /tJ-YO-ofJ             .:z: sUb/n/IM                    4-
18      j; It: M ME:                  A)tI/Z-.iL      Ia     JUh/,f;      ;%Y:
19      (JO f!tJ/11          -/-L//2      ~£skt'clrt?ALJ t.?d£- ~tUEot;
20          IJ-5    z:   UJIi5      hid by S~dP/~,c.zdcdvl
21
       -z:         Cae/ttl   /J£-     tJkJutd ULJs!z4vu,( ..z;, uJ~
                                                     ,
22          hid V/Itlj6 tf/ewd krv~ t'h£ cAIld
23          ,cO/L Lt?1L. -fdlriU ~AJIh ~/i/&/v4£
24          /t:J /Z£/lJW /Jt l/ Mwu, -~L/~ ~hLCHtI/fJ:f
                                      7
     Page   3~ of   17
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 1     "vIE£&!.,4,                ff2& (J£       ~        ,/;        L':d/ 11M £At:
2 -10/2 -I-£//l.." U//1£AJ /A//J1W U~/fkL /JCL~rG/2-
3  ShOuJE-/l5l £U/lio/rt:)~ L£=CCJ?J~'·SE/ ,L-h£Y
4 tuA!!L. k> - F/UJOl 1-/1&5£ /l=££/l-S,J!}/AMllLIL                   /

5  tum. LA! £~L/)tLUl9hNj /4Vtl ~/J/J:./Al1 '¢
6      !J;&. .51£~        r~cy.4
                            £uhJ          !i£¥ .z:;            4
7      WkS oAi N£/JI/£. jJAMJ /(}fdLal/tt1N"U£I.I&J1/J,J
 8     AMI Ibu/;- J"AlIY4mtzJA-/o/l-fj /JY,d..~
 9      AlA.··                                                        .HA!;bvdah~~
10·    /AJ   1:.AJ.                          a       i.               /)7'(}//C/4LdA./
                       /                                  If                          ~
11     ~AJ /I/CVAJ:J         jl&Ai tljI/ ·m£"
12

13     3 8]    #AtAlL4' /(Msh~                                  /1   ta·"!A tf~<
14      Its     LJ L 5     !J.M/~ L~ ~Mr/ldc/Z~ /J1/;ck
15      JJ//&AlW /;ljIW~              k    Ail        '2A:, ;,; ~J-e
16     'Ad/A!!- 10         W/;£fig,     vA! /JJ~                          /3/tiloo9
17     7j)u/41'1' AM£?i .w41U!:1t ~/t//aJ /tg
       ,-        lfA             ~_/II 1/                   I    .-L.. J.
18      UJIt5 a5'.SU/2-£LL t/dfl.?6                 u.JlJa/c/4/~GLlt!:.
19     Ius ftsl- .5tF/l-JL-4j/ AuH-I-J, c1.fl-RL~l//d/2.
20      I~M                 '2JWE-AKilmrll s/J£/hN/ /~
21      £o/IR-Vt.~>()RI            ,4E~~(/Ald£d,4;; .ltU Y-Uk/4A./cL
22      ~~GlS:                        /5:    /A£ ~/'/t4 ~
23      ";;AJ~ 4.~:.#c/ £££EN~'S.j--t'/?~
24      'tA-IU/· Atud IIA-tLf6 /5 & ,Ab3r-qPa&o~
      Page~of Lf7
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1       /iAlJIJ ~;I}/1d(/(d£tl. ~,e /).c /Ah~~
2       WAUl-     UAfUII. ?<Jt'tL/d Of;, 5iJz;!/rJN' wAS
3       {/AIIJ-(;/~ /0 ASS/.//2,£. IIA-/A/h/L /:.A4-1 I/,4-Rjd
4       would l1!~f .4:       /t     !MAlIA          t!,/hLI:r J~MI/t"dr£ ~
5       ;JIA(;Vk/i A£kL 5U4JVZY /.l~                              /l/A--/#R
6 .     A./'US&!     1hz..        SU/LjE../L./tJ /   #:;I-CJ;,~ 4-~ tuM
7       ~s&d ~4e,J::.- ~ $£c.C,
8
    -
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 1                                                                                                             /"cm/
2                                                          w;                                    gt&cAo-Nf ~
                                                                                                                          /
3          .!.u//A /AJl£.   4 C#a5£ m6 ;/,bI1J~ M A45
4          '&AJJ/lWtIS/y tlrO/4M /It" UP!! k J£ IiEL
 5          LNJm &LuLl A-Nd,   UIf/!L-J'-:4/ r~1/A1C.SIvnettti, A-Nt!                                              >

      . &t J 5 t9 kh/JYJt ~ ,1/.4tAiltllJ IIJAy.f~CAt/ WeLl-
                          d
6

7         /;£1            /I




 8                                                           n
 9         tjI             ~                 2)12-             /f1N.sL~ t{) 1 u,,<2£cL s
10·       "(!,!OcS £/y'//               /AJr     Ih           2J/Z;' t/~/(//,6vc/~LJ
11         /5        AI-S         .sU/)£/bt¥5dA..
                                       ~
                                                                   A-:s CJSP~ -e};/Lt'
                                                                                    7

12         171£d#41 /lAt/UA-)                                   Z'Jl/h-uP'/tiA!A/t)t m;v/ul                    "
13         #,4/#;-;;;'5 £U~!I                                                  /l-NcL         Il1.W£C,;fJ--h&lJ!!J
14         ~/N:j /lIIktYImAJiJ /#~/£'c~42daL#;';
15         IAI 1/(()I,4kud 0 ~ "t2!AtNrlU-s /2L#AHre
16 _ _--:----                                                                                                             _

17    -'-I~;;>",L-)---=-tJ~A!_._.::b==___--/-..:7_-_tJ~1~'-F-,/J:. -:. ~. :. :./h. :. :. -A/ I~/~t':......Lt_4~~td..=....:/9-S~--
18            altll2Ntc! Ia a.S,IJ 1'd£..£U4f~ ~
19            ~ ~Aafd tvA.:! g¥J~ As /tJi; 5/la//JL
20            IIb,#)'''(j tfAJif 1-h/J-11A &121!..~
21                                                                                                                        _

221                   II                    (             ((                            ("       t'///
23    -aJ          I2£..Rlllad V~ A5 ,£11£, .5jJ.l:Lrd/
                 !/.4lV,SW
24      IktL5!NJ ,hull/A t!-~ ,.41Z41//dEit2 IJ/ os,/J
       Page   3b      of!i1
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1          I-hl. 01;1 &~h                      J.J.4-AJ_SE:A1    dl'AI/eet
2     1-11.£ S'al2§l.~           wlJJiL dlol 41-05fJ.J
                                    £{/£;o/
3     tlA-/VS £~ ,4-~Inf!IuJ.,4~~ ~/A-/lf/I/,L~
4     /!4--I# /(A-tYci dt4 50 I Ihaupz                         kl'l.0
5                                                                              ~



 6     if])     'Uf!(J1\f       !Z£faw'/o 5'e·~r (ct-g-/~.J
 7
       I
           f)!HAf.)/   II'   ,Su:,v .,L1z,e.- A/tL~,J?& ~ £1AV£4I
 8     /-ttL /It[() elidE           tV Inc.A       w ~ id/yh/UNj
 9     ;Z-5-t'tJ,          :rA£.    A/tt/?5L,       .fA-rd sAgld
10'    /J-S U     7)12--CJ.u-11'Ck ./t, UAI.vuL· I-IJ. £
11     IJ2tt/cc4hdAL 5'k 1&1£,/2- A?Li:/L/4/ee! /-AL
12     5'/J-/J1£. d/Hj       U
                            -q-t'd) /htJd 1tJ!</,twA/leg
13      l!Jkl 7}1l. 1~A-t1J'$-LA/ 4--1 OSLO AIkIJLuJ
14     6A!f/khd /hue! !k .Jr;/d '(,~//CL:/~d
15      ,I" /L£A)£JJ.)fit:, · /IlultCdftdA./ ~ lie. /tIJ()
16    . .)alc}    ~/ICIL. If ZJ/L. &Z-/J ,.9,4');ld ~ne
17       .5lL!f:JUH tvk:5 AIt) / Afec<sS A- /lII"~ rh1.5
18    dt~dAI r /2-r-R£C-1- Z7A,4 /JU Z-Q0 IZL/ld /2;1-/
19     .50 auf/de schEda/c.cI ~/,4-/A/fr/'~A,         j


20      5 ££ III /11 , /J-II/cI ,,~j ;Cgj)/UL "'f-!Uj 01- 9-t'tJ
21      !It, jIJ/d P/A-/AlJIII' f/JA-f Jln7rJSfd' IJAC!
22      Nt) lJafbu!y 10 ('A7I/cd! fk £U'if:D:<f,<
23      ffALti A& hJlttal.l1 te/~tLtd ~d/i/,tAe 1- 2J~
24      BtLz/t ~ ~£? ~/;Q(LI: I-/u' .s~£~,
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12




21
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1          rh~5 WgA/l ,4                      f~c-rf5- 7"£ ~ ~a/
2      tvIJ-5 1J;I!j}IlI(/L d            (j 4/   I~eu E'VL' /L
                                                   J.j - 7 --16 I
3      6A1 L/-13-/~ dlA-/AiI/// WM,U~dLAl2/1t
4     1121JAJ5/E~dtf 10 C)S! &u- ~ ~'&JtL/L/f/~//J"
5     {),.j 5-1/--/()   81(; "r/ tUAS dLAa/AlI A#d /f- U ~
6 .   iffFluJ.        oAJ 5"-/~-/1J 1/A-/4I/t'//'a//B hid
7     SUlljt'!jf tUlt5 Sc~udaltd. 1),./ S'-/J--@ /}~/(~d
8     UJlf5 a(JAf£~ ,/J!IJ./A//(// ':?A//a/l-H/.,ec! //2£dccl1 /
9     5fnH- rAtW- Sttll;jt?:j tl./M ~()S,tjJ,(}tJ£dl du f-
lO    flu,! flJ.{d '{ tJ.J6/RL ld!htt//A(9 PL /./Atc/.J'L'4/'5
II    OidtM: /!&/II·l-/I' hAJ4-J/y h,w ~ &/uSt!
12     fF,LI/rCl:-$ I tLA/.//1 A~ GaCL,leI SEt: 7 1k d'mt/thII
13            HAJq               'iu-n   If   1iJ1/5 JtI.2-           . {uq   ~,.1Ib/
14    If   If/! tJ    If       tL··                                .14M /flseJ
15          01- / N    /jIll                                   /f /l)dttAl ~&..,
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1      fluz/i didul./ Ldt'A! /Jlk/e I-hc "(If/ECtI tf/k'~ II'
2     J2i1J(j/?/;
         I        ,
                    /I//fI'A/.I/-/1' tuM gL~ltL/2A/~c/ .Jo
3     5'~cZ" tAL A/U-I dAy / 5- /~1_/~
4

5    -If-t,2 6-.1 5"-.1-5-/0              ,UArNlrI'£.5'u-V ~11dc.
                                                  .



6       I!Nd £~JJlIJ1Af~d tulJeI                      JlA-AlSL,f,/   #Jlem/Jld
7       {IJ   dt;~ ~ lIck ,ktJ~ CbU5ttlkkaA!
8      )A1     ()lJ!-/i-/2tO ~ ,k6~L , ~4~Alb£./S
                                 r

9       1!{(t>dlt1J£ I    LacvtE/L h;;e / do Il&m 8CLA/1c
10     fu IIliChtJAlJ ~ ANd -,4,; Ie. .,LAc.: lA:!.£ b*.lc
                             i


11     -Ia 512t:J:5 /~e." &41-/11-/#££ ..
12   ~_~                                                                            _

13     '17) 2J;2. I-ItrAJ5£1\15 1ft:. lit> A/S ,1fA/tI/d~ / AI/kltdA/J'
14     Co;;s-hla/L ZJLI/IJ£IlIl-k .7Aldi--.J'z0li:A/Ce 10
15    jJ/A,J-hf';;" SUUOtL5 /fJE.cltOY NUcI¥                                       '-!J
16     JAfIE-AI Itlilllf IIj d if-.tIl/IN"J dlL () I' m?d!all',/II'
17     All- AMy IM'L d£.uJldlJ JU/ljV!--.lj-' /dlthtJaf
18    flu-Motu'!;. A lE.cj~iLss~ dt;J2-~
19     /J'ly midtCA/ bA/diktlA/I !?w.autYj'ly, CAt!5/A/j
20     mE      d&tAl. It2£dbl              ANd            £4UI£(h,rI/l1    mJIRE5J>
              r /.u /                                 /   fl/'     tI~    /J       t(     /}
21     /tAl~£'J T' ~d 111J7A1fUT /S ":~ ti:/I/L ~r
22            Alt
       IJ i f tAl IJ I.l C/be£/ A-5 /l/iHuh I'15
23      lJt!a'lIA ~/lIZ-£ j!M(/~t'k/L. 7};9/YJI1J£'; 5h4 ultl
24      bg nWfi/2.ded ~<> #/f'N"'kfl' /l-ccdd~ly.
     Page.JL of     L/7
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2

3    tt 8)    (J ZJO C.     (J.f'./2C/1JIf     AI S'.eCZ;jfttJ/2Ed.
4       IJ!A£ttl!t1e S.£/2aJa.s /flt.elt~/JI L~AI~~A/
5       A-Nd M /J £estill CAas£d I)wAlltI'-I'
6       .Je; /J& SZtiJ / Lclee! irJ £~ t. /l tLC;:;; I/Utl / .4/~1
                  T
7      :HtIILc.kt/ rAlhNltONlJ/(y1 dl;/liwlelrt                                   J

8                                           ~, <f/~l
9        '/Ie-.s ttlJ ~ ~cferJ       -Ai rn .'-" I" e/ULLI
10            tl.t!lL lL     lLA/LJ'Il/n· I, ~()a.rIW~
11     IN V{bfA4l0A.! 0 I' 1JitY-Af~cb4 &Als. ff.          1
12     J'.IlJ!ul(Jllj/~tI ;;d/YUA/td!M/rl/~ /La1A
13      !lJghh. Itdqu/J&             i?£d'&!L. "..,c /?M-/;I/-/r7/J
14     1'li&it'CAI /lies>        /# I-k~ £AlI/.Rl:.y / Noutq'
15     hlW& ,/J4t</tA./ltd tAL /AillicA1A1 a/'./}A-;-A/
16    lJlaJ JJIAlAl/tIl'. ~ (tJCl40' .f£VA/j
17     m rIJA-tA! I IJIAtvlt1l' f.lJA;$ fA!./ fAr /AJIb-cltdAi
18      C!:JAJI'IIlUtcl7:~ £l-Jch /Alt:ltiMllT rdt/l.£/ill. //
                                                          L




19      5A~fLld b£ f/~.,t't/l.LEdfflc IJ~ ~vleuhd1l44
20     ddLlJl:/l4-ft. 7 J;waJUf)JIy/ 1!£d0.5Jo/tf!rrlA
::      h/hN~ A~L~ flU, #~ /I!'~:;lll
23                     .   , .               .                .   aid hE:
24      In/Wd~ /,v f'~ ():/.k«41J~lll-<::ka'u:r
     Page iIJ.. of if 7
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I

2
      :v ZIt •               f £!j fLU lui JZd/f/ I
3    -5-0) UiIz£./2LlJl?t. f)/AfN/-;/£ !l1gtlEs lIu
4        'CoUlLf 10 (/4eA;/ Ihe ./d/!4lJ.I?AlQ
                                            J
                                               kl/z£:
5                                                                       .

6    s/)
     . ,.:cSSUJ;
          .                 8t!L JIII/UMoN
                                   iT                  duiltRINif
                                                               J
                                                                      IlJ41-
7        LA-cIJ      dL.feNdlM/;t klVdtvtdlL/.J/It{              JhvdlM-
8      CoIIu/flI£!Y t/lol/H-uJ ,NiJ.mlt-lh Ctw.!/~IuKA?
9      sWu IOflj ( ANd                         ~{j1J til
                                     Ifdll'llA/lJftMltl.l"l:..
10      lAM III?£ et£AlLll/ £slltiJ/LJ'ltui LLAlck/L
II     Il/..~ hR.Sl, L>911..J-~ /hifcl .cau.,e.~.)A..
12    /!7nud/l1eA/!5 o.r flu- t&IWJ~~~
13    6fl#oAi J-1t-NJ 1 ,4-N'cI tJ&t;jc-1l 7JE.lA2/~AJI
14    of Co~Ali- 61lf11lA! tJ.dnb1/l~L
15    M es rr
            ~ £JtJ It u uI   ,IIlLJ C tdtl&£f-#-I_ _
                         <,thvt!                                    r
16

17   -5-J-J §S--Su..e. IhJ ~N;'UAlCIrQIfII
18      iAeIJ        de/£A!dAItlt: ~NdtvZclt.l.                             AM   d/L


:      ~:f;;ltt:::;:j::tq~~~f:z;:;;fd
21     ~ /ld/lllA!ls!&t.-kv:£ LAws P:'tJd.iJ1&:B"Yj
22      LlAl.dlYL         t!efO/L b-~.sfm £9!Uj/N' IAer~
23      O.,£..,L;CM/        t!.AfJfH!..1'4/ A-t<Jd        AJ· A:.       mati-
24         2Jl/17ntfju /1/L£           ~ ~£            /Jwl?t?-dl'dj
     Page 4lf of   'I 7
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1    53}r                        .:;rA/fljAlc~ctfif
                        ..:I;s$lJ g
                                     7
                                                       Ad
                                                    /ldA/NSI
                                                     v
2           Z.4CJI d£.hwdnlll.J./ JAfdrvrr/tI-IJI!y A-Ar$a-
3          Colltrllv:ft Atvd d/./ludlly/ tkdA-al-A/4
4          fhlJ-'l. t)ffJrNIJ-~ 6>m.fJ&!LS'oh~/ I/-,u(?
5          jJUAJi.f<,fl                     7J1#nAj£S IHU IJ#J&lJWA-:s £1k14S ~
6

7            .1)         AltJ/J1ttl//J-/                 ?J/MJ4;jil () ~                                 .f' / oe ,41-41'Ali!
8               .       ~     cluualWl ;tJ/J.Jflj /Hv'~            .
                        $£Y/~,,!: EOaAd/. ~IJ-M /iA f/t>//l-lrIl/9
                    I
                        /J!Arm iYJ Il-t /fILls ;                    ~              I
                                                                                                                       .

12         .1)           &I!J~/UI                                :f!;;m1J:X .o~1 la.tJdtl"'"
13   -_-L.J'*I~~~~I-~£flc.~....:....:.I(----::::ZJ.~~~~...=....=:::=..':hfj~1"'--.,.J(J!..-( 0.....:...../_4.....:.....1(;-I-1_A-M~tI
14 _ _              ~~...k:btlLJt£~&L.!IJi~/t~~----==.CL.:..:...:,f/tI::!..-......:t:...:.....:j'-IM~·
                                                                                               ~~.=:....t..-L~~~~~t!IJ~(1~~'IJ.~k.....:.....A/'l-+-t{
15   _--4=-/~/IJIi~~L.L..cA~1 11--:.../5s-.=.h~u,....,...:..QIl~Ir~//--:                                                                    /_
16   --t------------.----
17      3)
        fll4'tIrra 7J1J7n!1&O ~/' t)t)() ......                                                    's:
18             :4jMd.i1 d'~Is: S IJtlHA///1,£iAi.XJA/)
19           JVo tJl-b/ rntLll£; t!:A-r'~ Jf 14~ IIpUlS!
20           11.0 c/gE- 1 4tJAf/f/Eg, -~I/C~l C'ASl-tuoOcf"
21             ~g,n,IJ!J~· I'~t:{ tJ{){) f}JIt)l-A/J·r) /fi$llj
22

23   ---=-..;J IfJUA/;/ten:           0/' ~tJtJtJ?· .  ZJAn1f!#tS
24                  ~1tI.s1- d£hdMlr!J; V'/}4!l-a.~EN;
      Page   t.j.5      of   n
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1    Sif)           fssuc:.                   A>t/         J;V/U,ijC';(().v;;?E.UtAo1/bV~ly/
2          It9MNSf                £Ae/2 dd~6 ZNa~l'/dM/o/; ~/L
3    .   C1)/ltdtrtefJl kJ4.HA//Afj Ift£1!1 zfMz· I!dJIJI,~
4         I}j/J-f-A/,st plAalit-It 1P/L /I-/;-q /-k5 6~
5        II-Nd tJR-dte-. f:A4i= A-Aly  '>uct1 ~l-IIJIi#I"A/
6        S hlJll At, eAA/sf.IwuI ItS ,-    ~tIAILfAmEAfI-, A-NCI                                                 .
7        CoAl,)f-InIJ.f 0 t ('I"L/bI1 fiLlA/a A"I-i/£ by /7-
8        t to/JO ~ ./fAIR, ~A/'JI £/J.C.,/z dt::fl.VcltHt/l .
9        /f-AA:dPlly lOlL#tL .4 /z1HL£- w/JWuI
10
11
          /:fjM#sl- #kPlfd-l'; ~ ~
         bt/ol2e
                                                        LztAtY::
                                fht... Co~ dlL£ It; -iJ11H-N1/1ft
                                                                                                                                I


12       S2£./IJtl:!             mWC/J1 LUNdi-ltd,v: wA/~1z &JtlltL
13        clt5llJIt IWAI.JtII,jJ£/Vn/W~!:!fi                                                                                   .
14

155-5-) ..z;::S..$ue          r..fI·tbVC//t7~ M/J./A//A/j
                                              Ad,
16           :IUlUSt!cc-hoA! dt/£/l tAo CASl:1 ~ Izatt!
17         ~ A~ r~ ~ f(/M~ /dd4,f,,~
18         ~/l-- ~~/1t,tJI o£jJlL/l1 l!-/lOC££t:hN~ri
19                 ----------------
20   S{, ) J::S.s'u£ A-dJ ..:r#/JlAlCIrON 1:iAIIIiL
21   _7_~L~b~l!/lI~_·~ch~f'-~;;mCLJ.~Jr~~~~ /U)~j?:. . Jo G~IZ~A'-A/. - =-. :d': L._.rlrl. . l l: :I.L: u.f. L-i- =/- :. .=. .AI
22   --.....LL...L.l<Iz~)S£.........2m~tl.L-ffl~::'L..=../~JooC:tt::o..L.s:~/AI~~~/'---=l1t:-::::::_:_~(]~(J           .=dL..-.-5~._
                                                                                                             CL!=:::::..




23 _ _             ~-h~CL~R.L.~~::::.s.d~t~c_A~t".J"L,tT4.~/----!..:/JAA~d~ZI.=--=-='/
                                                                                 ~~CIiL~'~h..L.-JL(}I.L..:.A/~i_ _
24                                                                                                                              _

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10-                                                                                _

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2

3       ..:z; C/Ay./dll! £4-7no-v1- aWR~L/;ffckl2.
4        CJ MAl             .stVtJ/Uf                         It, ~dOl2£ #,.ifd .,LA-/lj
5           SlUgA-/,- -I-A;W- Ill£. J.//.J~£/IU/fI6 /J1A-cIL.
6           )N rh~ Ii II-lJ.Ch«/C1vII fIt/his C,/J1J}!tJhlf                          ~             ,
7            ItIU I/UL£. HAIti L.tJ,€R£cI I-tJ liz£; O£>./tJ~
8    -=tn:....:..::.?J-+-----'h~lJ:...=.=.w~/uh~rgL~...--..!-:-A-A/.~dtL._.......l:ob~tl_L/;;~£I:~   _
-9                                                                                                                      _




12                                                                                                                _




14                                 ---.......- - .. . . . . .!!!!!IIIIIIi1II~!I!!!!IIIiII~~~~

15                                 ~~~~IV'                            ~dJ~·::;.=.:~~'4&/~-~~e3::::.....J$~,):;;....:;7..L..7
                                                         L.....:......"

16                                                                                                                _


17   ----------=---------~--rl--
18    SWO/l,A!               1-0
               IJc/J1U. mE.. 64 -1-111$                                                                     liii
19   ~c/;~~r..::::J__IJ~t'~9~..~.-.o.l~--=----:::cJltJ:.......:::....I<~~-----­
20   --------~~._____-~7__-++_-
21 -,L.~--____+_---__4i_~~~~~~                                                                                  ....~
22           SEA-                                                                                            JC
23   --------~r......L-L:.~~~a:...e4#~, ~dA!~_
24                                                                                                                       _

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                              CUlrl'ICAIt:.. ".;" /!J,?I-!h/ 9 - - -
3              /fz£ A:#/J-Lnq! Lid LL5C5/~'3 tIu/f~
4          eNd &jA./s t!olJ7jJ/AM~ 6//11, AjJfJ/1C4/U,if
5          10 j}/lbcEEdl" AI ~/VnA- j)/JlI.fJ&LJ,
                    ~                     ,       ANd erf//- /               ~                                         ...
6         (!O(JllZ. Shaft WIJ? InAII .fa 16£ ~f!Ylkoj1
                        •
7         rAL- Co~12I- .11-5 iAfdful£tI b£M'W dA/IA£
8    ~.....
       I 8-.#'\..__-'~J,L.'~~L-....!=:::.I!J..L-t:-----s·sA£.!:-;L~·AI4!L'-<,,~do~/~~J-'                                              _

10                         ~~:_/__=.£:.::..IL_t._d_~_A_n.....:...t____.:u_=.C/---=:;£:....;..-:l                                      _

11                         ----=t/.:..:....~.__,;S~.__=ZJ=__.~C::...._-~o....!._-I-_O..;;:,...· --,~t:T-'t_tJAI------:-----
12                                   ,,;/-O 5, WI IlJkl;;-=-S~=----,                                                  _
13                             }+-A~~ __
                                      U:...._h_A-._,fIet_¥_I---=O::::::....!:t£~~ ...L.1....L.1c=~...::....t1~S                   _
14                                                                                                                                    _




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